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ORDER SETTING CONDITIONS OF RELEASE
IT IS ORDERED that the defendant’s release is subject to these conditions:
(1) The defendant must not violate federal, state, or local law while on release.
(2) The defendant must cooperate in the collection of a DNA sample if it is authorized by 42 U.S.C. § 141354,

(3) The defendant must advise the court or the pretrial services office or supervising officer in writing before making
any change of residence or telephone number.

(4) The defendant must appear in court as required and, if convicted, must surrender as directed to serve a sentence that
the court may impose.

The defendant must appear at:

Place

on

Date and Time

If blank, defendant will be notified of next appearance.(5)

The defendant must sign an Appearance Bond.
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ADDITIONAL CONDITIONS OF RELEASE

Pursuant to 18 U.S.C. § 3142(c)(1)(B), the court may impose the following least restrictive condition(s) only as necessary to reasonably assure the
appearance of the person as required and the safety of any other person and the community.

IT IS FURTHER ORDERED that the defendant’s release is subject to the conditions marked below:

(Od) (6) The defendant is placed in the custady of:

Person or organization ~~ Debovn é lA U h lev
Address (only if above is an organization) e Le Vy) U ] YW dor LD i"

City and state Povsdor Spang Of 30 | a3 Tel.No. OY -2) k-S/5 0
who agrees to (a) supervise the defendant, (b) use every effott to assure the defendant’s appearance at all court proceedings, and (c) notify the court

immediately if the defendant violates a condition of release or is no longer in the custodian’s custody.

Signed: D. KR / } 12/23

Cystodian_ * | Bate
(BJ) (7) The defendant must: W/ peryyTsre MN

(1) (a)

(ED ()
(O) ()

(BX)
(Kl) ©

(EI)
(MD (g)

(EY) @)

(O) @

(O) @
(Rl) &
(I) @
(Ef) (m)

(O) @)

(O) ©)
(M) ©)

submit to supervision by and report for supervision to the U.S. Probation Office, 9th Floor U.S. Courthouse ;
telephone number (404) 215-1950 ,nolaterthan immediately

continue or actively seek employment.

continue or start an education program. :

surrender any passport to: Pda NAn Ce. IM wud tela
not obtain a passport or othe international travel do¢utent. ¥
abide by the following restrictions on personal association, residence, or travel: _ travel restricted to: NU ‘ fy i a lop aed “A.

mustresideat: D>. K's agdditie awbort pe

avoid all contact, directly or indirectly, with any person who is or may be a victim or witness in the investigation or prosecution,
including: ‘ : :

liek +) below /

get medical or psychiatric treatment: } re , . j :
return to custody each at o’clock after being released at o’clock for employment, schooling,
or the following purposes:

maintain residence at a halfway house or community corrections center, as the pretrial services office or supervising officer considers

necessary.

not possess a firearm, destructive device, or other weapon.

not use alcohol ( [[]_)atall ( by ) excessively.

not use or unlawfully possess a narcotic drug or other controlled substances defined in 21 U.S.C. § 802, unless prescribed by a licensed

medical practitioner.

submit to testing for a prohibited substance if required by the pretrial services office or supervising officer. Testing may be used with

random frequency and may include urine testing, the wearing of a sweat patch, a remote alcohol testing system, and/or any form of

prohibited substance screening or testing. The defendant must not obstruct, attempt to obstruct, or tamper with the efficiency and accuracy

of prohibited substance screening or testing.

participate in a program of inpatient or outpatient substance abuse therapy and counseling if directed by the pretrial services office or

supervising officer.

participate in one of the following location restriction programs and comply with its requirements as directed.

(L)) @) Curfew. You are restricted to your residence every day( ([] ) from to ,or (CJ )as
directed by the pretrial services office or supervising officer; or —bttrten 9 Ss

(fi) (ii) Home Detention. You are restricted to your residence at all times except for employment; ton-religi ;
medical, substance abuse, or mental health treatment; attorney visits; court appearances; court-ordered obligations; or other
activities approved in advance by the pretrial services office or supervising officer; or

(1) Gii) Home Incarceration. You are restricted to 24-hour-a-day lock-down at your residence except for medical necessities and
court appearances or other activities specifically approved by the court; or

(oO ) (iv) Stand Alone Monitoring. You have no residential curfew, home detention, or home incarceration restrictions. However,
you must comply with the location or travel restrictions as imposed by the court.
Note: Stand Alone Monitoring should be used in conjunction with global positioning system (GPS) technology.

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ADDITIONAL CONDITIONS OF RELEASE _

i ) (q) submit to the following location monitoring technology and comply with its requirements as directed:
) (i) Location monitoring technology as directed by the pretrial services or supervising officer; or
(CJ ) (ii) Voice Recognition; or
(O ) Gii) Radio Frequency; or
(CJ) (iv) GPS.
we (r) pay all or part of the cost of location monitoring based upon your ability to pay as determined by the pretrial services or supervising
officer.

( ) (s) report as soon as possible, to the pretrial services or supervising officer, every contact with law enforcement personnel, including arrests,
questioning, or traffic stops.

(MY) ® NO Cortack wy lis pwa children Aeteph oy faeTime
Umd) Father Orgs

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Kristopher Kneubuhler
1:23-MJ-027
Conditions (continued)

a

. The defendant must participate in a program of specialized treatment for

defendants charged with a sex offense. If able, the defendant must contribute
to the cost of services for such treatment not to exceed an amount
determined reasonable by the U.S. Probation Officer / U.S. Pretrial Services
Officer in conformance with the U.S. Probation Office Sliding Scale for
Treatment Services.

No possession of any pornographic material — adult of otherwise.

. The defendant shall submit his or her person, property, house, residence,

vehicle, papers, computers (as defined in 18 U.S.C. 1030(e)(1)), other
electronic communications or data storage devices or media, or office, to a
search conducted by a United States Probation Officer. Failure to submit to a
search may be grounds for revocation of release. The defendant shall warn
any other occupants that the premises may be subject to searches pursuant to
this condition. An officer may conduct a search pursuant to this condition
only when reasonable suspicion exists that the defendant has violated a
condition of supervision and that the areas searched contain evidence of the
violation(s). Any search must be conducted in a reasonable time and in a
reasonable manner. The defendant shall permit confiscation and / or disposal
of any material considered to be contraband or any other item which may be
deemed to have evidentiary value of violations of supervision. Abide by
limitations on whether, how or when a computer or the internet may be used.
Includes general prohibitions on ownership or access as well as restricted
access.

The defendant must submit to polygraph examinations under the guidance
and supervision of the U.S. Probation Officer / U.S. Pretrial Services
Officer. Polygraph examinations will be used to monitor compliance with
conditions of pretrial supervision. If able, the defendant must contribute to
the cost of polygraph examinations not to exceed an amount determined
reasonable by the U.S. Probation Officer / U.S. Pretrial Services Officer in
conformance with the U.S. Probation Office Sliding Scale for Treatment
Services.

. The defendant is prohibited from accessing the internet or using a computer

or other electronic device, other than via desktop computers that are
equipped with IPPC software for work during work hours (9-5, M-F). No
smartphones or laptops. TV is limited to cable. No streaming.

. Calls with his children must be conducted using the custodian’s phone while

the custodian is in the vicinity. Otherwise, he may not use the custodian’s
phone or access the internet.
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ADVICE OF PENALTIES AND SANCTIONS
TO THE DEFENDANT:
YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

Violating any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a
revocation of your release, an order of detention, a forfeiture of any bond, and a prosecution for contempt of court and could result in
imprisonment, a fine, or both.

While on release, if you commit a federal felony offense the punishment is an additional prison term of not more than ten years
and for a federal misdemeanor offense the punishment is an additional prison term of not more than one year. This sentence will be
consecutive (i.e., in addition to) to any other sentence you receive.

It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal investigation;
tamper with a witness, victim, or informant; retaliate or attempt to retaliate against a witness, victim, or informant; or intimidate or attempt
to intimidate a witness, victim, juror, informant, or officer of the court. The penalties for tampering, retaliation, or intimidation are
significantly more serious if they involve a killing or attempted killing.

If, after release, you knowingly fail to appear as the conditions of release require, or to surrender to serve a sentence,
you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:

(1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more — you will be fined

not more than $250,000 or imprisoned for not more than 10 years, or both;

(2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years — you will be fined not

more than $250,000 or imprisoned for not more than five years, or both;

(3) any other felony — you will be fined not more than $250,000 or imprisoned not more than two years, or both;

(4) amisdemeanor— you will be fined not more than $100,000 or imprisoned not more than one year, or both.

A term of imprisonment imposed for failure to appear or surrender will be consecutive to any other sentence you receive. In
addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

Acknowledgment of the Defendant

I acknowledge that I am the defendant in this case and that I am aware of the conditions of release. I promise to obey all conditions
of release, to appear as directed, and surrender to serve any sentence imposed. I am aware of the penalties and sanctions set forth above.

4 —

- Defendant's Signature

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Ic ity and State

Directions to the United States Marshal

( hoes defendant is ORDERED released after processing.

(_) The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk or judge that the defendant
has posted bond and/or complied with all other conditions for release. If still in custody, the defendant must be produced before
the appropriate judge at the time and place specified.

Judicial Officer's Signature

Printed name and title

DISTRIBUTION: COURT DEFENDANT PRETRIALSERVICE U.S.ATTORNEY U.S. MARSHAL
